Case 1:23-cv-00079-ABJ   Document 182-4   Filed 05/15/24   Page 1 of 56




              Exhibit D
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 2 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




           Purchase and Sale Agreement, dated
           May 8, 2024 by and among CSRE
           Properties Wyoming, LLC, Terra
           Crypto, Inc. and MineOne Wyoming
           Data Center, LLC
           Contract Categories: Business Finance - Purchase Agreements

           EX-10.1 2 clsk-ex10_1.htm EX-10.1 EX-10.1




                                                  PURCHASE AND SALE AGREEMENT

           THIS AGREEMENT is dated as of the 8th day of May, 2024 (“Effective Date”) by and
           among MineOne Wyoming Data Center LLC, a Delaware limited liability company,
           having a principal place of business located at 635 Logistics Drive, Cheyenne, Wyoming
           82009 (“MineOne” or “Seller”), and (ii) CLEANSPARK, INC., a Nevada corporation,
           having a principal place of business located at 10624 S Eastern Ave., Ste A-638, Henderson
           NV 89052, or its assigns (“Buyer”; and together with Seller, the “Parties” and,
           individually, a “Party”).

                     WHEREAS, MineOne owns improved real property commonly known as 635
           Logistics Drive, in the City of Cheyenne, Laramie County, Wyoming 82009 (the “North
           Range”);


                WHEREAS, MineOne owns unimproved real property commonly known as Lot 1
           Block 4 Venture Dr, in the City of Cheyenne, Laramie County, Wyoming 82007 (the
           “Campstool”).


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            1/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 3 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                 WHEREAS, MineOne leases to a third party for purposes of bitcoin mining
           operations and/or MineOne conducts its own bitcoin mining operations from facilities (the
           “PODS”) located at North Range;


                 WHEREAS, Buyer requires North Range to be serviced with electrical power of a
           minimum of 45 megawatts and at Campstool a minimum of 30 megawatts. Seller has
           contracted with one or more utility providers for the delivery to North Range and
           Campstool for no less than this amount of power. Seller has requested the utility provider
           to confirm the additional electrical power of 25 megawatts in North Range and 30
           megawatts in Campstool (for the avoidance of doubt, the 75 megawatts are currently
           available, and 55 megawatts are conditional on utility provider load confirmation); and


                 WHEREAS, Seller desires to sell the Property (as hereinafter defined), and Buyer
           desires to purchase all of the Property, on the terms and conditions set forth hereinafter.

                  NOW, THEREFORE, in consideration of the respective agreements hereinafter set
           forth, the Parties agree as follows:

           1.Property Included in Sale. Seller hereby agrees to sell and convey to Buyer, and Buyer
              hereby agrees to purchase from Seller, subject to the terms and conditions set forth
              herein, the following:

                     (a)Real Property. All that certain real property, together with all other rights,
                        privileges, easements, licenses, appurtenances and hereditaments belonging or in
                        any way pertaining thereto, as depicted and legally described on Exhibit A
                        attached hereto and as legally described in Exhibit B attached hereto (collectively,
                        the “Real Property”), and all rights appurtenant to the Real Property, if any,
                        including without limitation, any strips and gores abutting the land included in
                   the Real Property, and any land lying in the bed of any street, road, or avenue in
                   front of, or adjoining the land included in the Real Property, to the center line
                   thereof;
           DOCPROPERTY "DocID" \* MERGEFORMAT ###-###-####.1
           241515-10002




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            2/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 4 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (b)Plans and Surveys. All plans, surveys, specifications, drawings, architectural and
                        engineering drawings, and other rights relating to the Real Property (collectively,
                        the “Plans and Surveys”);

                     (c)Permits and Licenses. Any permit, entitlement, governmental approval, certificate
                        of occupancy, license or other form of authorization or approval issued by a
                        government agency or authority and legally required for the construction,
                         ownership, operation and use of the Real Property, to the extent transferable with
                         the sale thereof (collectively, the “Permits and Licenses”);

                     (d)Warranties and Guaranties. Any written warranty, guaranty or other obligation
                        from any contractor, manufacturer or vendor to any improvements, furnishings,
                        fixture or equipment located at the Real Property, to the extent assignable in
                        connection with the sale thereof (“Warranties and Guaranties”); and

                     (e)Contracts. All right, title and interest of Seller excluding the existing security
                        deposit paid to utility provider by the Seller in and to any contract or lease rights,
                        agreements, utility contracts or other rights relating to the ownership, use and
                        operation of the Real Property, including but not limited to the Assumed Contracts
                        (as hereinafter defined), to the extent assignable in connection with the sale
                         thereof (collectively, the “Contract Rights”).

                               All of the items referred to in Sections 1(a) - (e) above are hereinafter
                               collectively referred to as the “Property”.

                     Notwithstanding anything set forth in Section 1(a), no Improvements or equipment
                     located on the Real Property shall be treated as Property and required to be sold
                     pursuant to this Agreement. For the purpose of this Agreement, “Improvements”
                     means all buildings and structures, together with all and singular the tenements,
                     hereditaments and appurtenances thereunto erected or situated on the Real
                     Property, including without limitation, the fixtures owned by Seller now situated on
                     or appurtenant to such buildings and structures, but excluding the property of all
                     tenants or licensees.

           2.Purchase Price.


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            3/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 5 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (a)Purchase Price. The aggregate purchase price for the Property is US$18,750,000
                         (the “Purchase Price”), as the same may be reduced pursuant to the provisions
                         of Section 2(b) below or enhanced pursuant to the provisions of Section 2(c)
                         below. The Purchase Price shall be allocated as follows: (i) as to North Range, the
                         sum of US$11,250,000; and (ii) as to Campstool, the sum of US$7,500,000.

                     (b)Purchase Price Reduction. The utility power supply to North Range shall include
                          45 megawatts, with an additional 30 megawatts under contract and available in
                          Campstool. The Purchase Price shall be reduced by US$250,000 for every
                          megawatt less than 30 megawatts that is available under contract at Campstool,
                          and also reduced by US$250,000 for every megawatt less than 45 megawatts for
                          power available and actively being provided at the time of closing at North Range,
                          and the
                                                                                -2-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            4/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 6 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     Parties shall prior to Closing (as hereinafter defined) enter into an amendment to this
                     Agreement memorializing any reduction in the Purchase Price.

                     (c)Contingent Payment. The Purchase Price may be increased by up to
                        US$13,750,000, contingent upon the occurrence of all of the following events: (i)
                         US$250,000 per MW for reaching an agreed upon milestone of up to an
                         additional 25 MW at North Range, less US$500,000 (up to US$5,750,000) and up
                         to an additional 30 MW at Campstool, less US$300,000 (up to US$7,200,000),
                         (ii) under contract with the power provider on terms acceptable to Buyer and (iii)
                         within 180 days following the Closing Date stipulated in 6(b). For the avoidance of
                         doubt, no additional contingent payment shall be due for any amounts in excess of
                         55 MW or for any contract entered into after 180 days, following the Closing Date.
                         Buyer shall remit contingent payment within five (5) Business Days of receiving
                         evidence of meeting the milestones, or portion thereof. The milestone will be a
                         contract(s), with similar terms as the current agreement, from the utility provider
                         confirming the availability of the additional 25 MWs for North Range or 30 MWs
                         for Campstool.

                     (d)Purchase Price Allocation. Seller and Buyer shall cooperate with each other in
                          good faith to arrive, prior to the expiration of the Due Diligence Period, at a
                          mutually acceptable allocation of the Purchase Price (the “Allocation”) among
                          the Land, and the portion of the Property that constitutes personal property
                          (including the Plans and Surveys, Permits and Licenses, Warranties and
                          Guaranties, Contract Rights, goodwill and any other items considered intangible
                          personal property under applicable laws). The Allocation shall also reflect specific
                          amounts allocated to any other personal property which is subject to taxes by
                          virtue of the Closing. All allocations hereunder shall reflect the Parties’ best
                          judgment as to the fair market value of each item as of the Closing. If the Parties
                          agree to such an allocation, Seller and Buyer agree to (i) be bound by the
                          Allocation, (ii) act in accordance with the Allocation in the preparation of financial
                          statements and filing of all tax returns and forms and in the course of any tax
                          audit, tax review or tax litigation relating thereto, (iii) refrain from, and cause
                          their Affiliates to refrain from, taking a position inconsistent with the Allocation



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            5/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 7 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                          for tax purposes and (iv) provide such information, including taxpayer
                          identification numbers and address, as may be required by the other Party in
                          connection with such filings. In the event that the Parties do not agree on an
                          Allocation, then each Party shall file federal, state and local returns based on each
                          Party’s own determination of the proper allocations of the Purchase Price, each
                          bearing its own consequences of any discrepancies; provided, however, that
                          Seller’s proposed adjusted allocation shall control for purposes of any transfer tax
                          and/or sales tax due in connection with the conveyance of the Property and
                          Buyer’s proposed adjusted allocation shall control for purposes of determining the
                          insured amount for the Title Policy. This Section 2(d) shall survive the Closing.
                          For purposes hereof, “Affiliate” means, with respect to the Party in question, any
                          other person or entity that, directly or indirectly, controls, is controlled by or is
                          under common control with, such Party. For the purposes of this definition, the
                          term “control” means the possession, directly or indirectly, of the power to direct
                          or
                                                                                -3-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            6/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 8 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     cause the direction of the management and policies of the Party in question, whether
                     by the ownership of voting securities, contract or otherwise.



                     (e)Payment of Purchase Price. The Purchase Price shall be paid as follows:

                               (i)Deposit. Within five (5) Business Days after the Effective Date, the Buyer
                                  shall deposit 30% of the Purchase Price into an escrow account (“Deposit
                                  1”). At the end of the Due Diligence Period, the Seller shall provide a 30-day
                                   notice of eviction (“Eviction Notice”) to any and all tenants, licensees, or
                                   otherwise occupants of the Land. Upon Seller providing evidence of the
                                   Eviction Notice and the effectiveness thereof to Buyer, Buyer shall deposit
                                   70% of the Purchase Price into an escrow account (“Deposit 2” and
                                   together with Deposit 1, the “Deposit”). Buyer shall deposit the Deposit in
                                   the escrow with Republic Title of Texas, Inc., Attn: Misti Michelle Ellis, 2626
                                   Howell Street, 10th Floor, Dallas, Texas 75204, Email: ***@***, Telephone:
                                   (214) 754-7713 (“Escrow Holder”). All sums constituting the Deposit shall
                                   be held in an interest-bearing account as directed by Buyer, and interest
                                   accruing thereon shall be held for the account of Buyer. If the sale of the
                                   Property as contemplated hereunder is consummated, the Deposit plus
                                   interest accrued thereon shall be credited against the Purchase Price. If the
                                   sale of the Property is not consummated because of the failure of any
                                   condition precedent or Seller’s default hereunder, then the Deposit plus
                                   interest accrued thereon shall immediately be returned to Buyer. If the sale
                                   is not consummated because of Buyer’s default hereunder, $250,000 shall
                                   be paid to Seller as liquidated damages and not as a penalty, from the
                                   Deposit, and the balance of the Deposit shall be returned to the Buyer.

                               (ii)Electricity Security Deposit: Buyer agrees to have a cash deposit or bond
                                   available at closing to fund the Buyer’s security deposit as required by the
                                   utility provider for the existing 45 MWs available at North Range.

                               (iii)Balance of Purchase Price. At the Closing, the Purchase Price shall be paid
                                    by the Escrow Holder, on behalf of Buyer, as follows:



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            7/55
                     Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 9 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                         (A)such amount to lien-holders, on behalf of Seller, such as Antalpha
                                            Technology Limited as may be designated by Seller and agreed to by
                                              the Buyer, in cash; and

                                         (B)the remainder to be paid to Seller by wire transfer of immediately
                                            available funds. .

                               (iv)Conditional Payments: Upon Seller accomplishing milestones in
                                   accordance with Section 2(c), Buyer will have five (5) Business Days to pay
                                   to the Seller for the corresponding additional MWs. For avoidance of doubt,
                                    Buyer needs not to wait for the complete additional 55 MWs to pay to the
                                                                 -4-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            8/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 10 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               Seller. The payments will occur as the availability of the additional MWs are
                               confirmed by the utility provider.

           3.Title to the Property.

                     (a)Title Policy. At the Closing, Seller shall convey to Buyer marketable and insurable
                        fee simple title to the Real Property, by a duly executed and acknowledged deed
                        for each parcel in the forms attached hereto as Exhibit C (the “Deeds”). Evidence
                         of delivery of marketable and insurable fee simple title shall be the issuance by
                         Republic Title of Texas, Inc., as agent for First American Title Insurance Company
                         (the “Title Company”) of an Extended Coverage Owner’s Policy of Title
                         Insurance, in the full amount of the Purchase Price, insuring fee simple title to the
                         Real Property in Buyer, subject only to the following:

                               (i)the Title Company’s standard printed exceptions:

                               (ii)zoning ordinances and regulations and other laws or regulations governing
                                   use or enjoyment of the Property;

                               (iii)such other exceptions listed in the Title Commitment (defined below) and
                                    approved or deemed approved by Buyer pursuant to Section 4(a) below;

                               (iv)liens to secure taxes and assessments not yet due and payable; and

                               (v)matters that would be revealed by a current survey or, if Seller provides or
                                  Buyer elects to obtain a Survey, then matters revealed by such Survey and
                                  approved or deemed approved by Buyer pursuant to Section 4(a) below.

                               All such exceptions listed in Sections 3(a) are defined herein as the
                               “Permitted Exceptions”, and the title policy described in this Section 3 is
                               defined herein as the “Title Policy”. Notwithstanding the foregoing, (i) deeds
                               of trust and/ or mortgages, mechanic’s liens or other monetary liens or
                               encumbrances on the Property (collectively, “Liens”), (ii) property taxes and
                               assessments that may become delinquent prior to Closing and (iii) exceptions
                               or encumbrances to title which are affirmatively created by Seller without the



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            9/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 11 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               consent of Buyer after the Effective Date (collectively, “Excluded
                               Exceptions”) shall not be Permitted Exceptions hereunder, whether Buyer
                               gives written notice of such or not, and shall be paid off, satisfied, discharged,
                               cured and/or removed by Seller at or before Closing, the same being a
                               condition precedent for the benefit of Buyer. Buyer may elect at Closing to
                               effect cure of any Excluded Exceptions not cured by Seller by payment, from
                               the proceeds otherwise constituting the Purchase Price, of amounts required to
                               satisfy and cure such Excluded Exceptions.

           4.Due Diligence Inspection.
                                                                                -5-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            10/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 12 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (a)Title and Survey Review. Buyer’s obligation to purchase the Property is
                        conditioned upon Buyer’s review and approval, in Buyer’s sole discretion, of title
                         to the Property, as follows:

                               (i)Title Review Documents. Within two (2) Business Days following the
                                  Effective Date, Seller shall deliver to Buyer the most recent owner’s or
                                   lender’s title policies with respect to the Real Property in Seller’s possession,
                                   if any. Within fifteen (15) Business Days following the Effective Date, Buyer
                                   shall obtain from the Title Company a current preliminary title commitment
                                   on the Real Property (the “Title Commitment”). Within two (2) Business
                                   Days following the Effective Date, Seller shall deliver to Buyer a copy of any
                                   existing survey of the Real Property and Improvements currently in the
                                   possession of Seller (any such survey being defined as the “Existing
                                   Survey”) or, if no Existing Survey exists, Seller shall so notify Buyer. At
                                   Buyer’s option and sole cost, Buyer may obtain a recertification, revision or
                                   update to the Existing Survey (if any), or a new survey of the Property and
                                   Improvements by a licensed surveyor of Buyer’s selection (any such
                                   recertified, revised, updated or new survey, the “Updated Survey”).

                               (ii)Title Review Procedure.

                                         (A)Title and Survey Objections. If the Title Commitment identifies
                                            exceptions to title other than Permitted Encumbrances, then Buyer
                                            shall advise Seller in writing, not later than thirty (30) days after the
                                              Effective Date (the “Title Objection Period”), what exceptions to
                                              title will not be accepted by Buyer. If Buyer elects at its sole option to
                                              obtain an Updated Survey, the Title Objection Period shall be
                                              extended with respect to any title exceptions which relate to the
                                              Updated Survey (the “Survey-Related Exceptions”) such that
                                              Buyer shall have until the later of five (5) Business Days after actual
                                              receipt of the Updated Survey or the end of the Title Objection Period
                                              (the “Survey Review Period”) to review and approve or
                                              disapprove the Updated Survey and all Survey-Related Exceptions;
                                              provided, however, that within five (5) Business Days after Buyer’s


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            11/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 13 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                              receipt of the Existing Survey (or Seller’s notification that no Existing
                                              Survey exists), Buyer shall notify Seller of Buyer’s election to obtain
                                              an Updated Survey and shall order the Updated Survey. Buyer’s
                                              failure to notify Seller of any objections to title exceptions shall, upon
                                              expiration of the Title Objection Period (as it may be extended),
                                              constitute Buyer’s approval of the Title Commitment and all
                                              exceptions and of the condition of title to the Property, and of all
                                              matters revealed by the Existing Survey and any Updated Survey.

                                         (B)Seller’s Response. Seller shall have until the earlier of five (5)
                                              Business Days after receipt of Buyer’s objections to Title or survey
                                              matters and one (1) business Day prior to expiration of the Due
                                                                    -6-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            12/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 14 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                         Diligence Period (as such date may be extended with respect to Survey-
                                         Related Exceptions) to give Buyer notice: (x) that Seller will remove any
                                         objectionable exceptions from title and provide Buyer with evidence
                                         satisfactory to Buyer of such removal, or provide Buyer with evidence
                                         satisfactory to Buyer that said exceptions will be removed on or before
                                         the Closing; or (y) that Seller elects not to cause such exceptions to be
                                         removed.

                                         (C)Buyer’s Termination Option. If Seller gives Buyer notice under clause
                                            (y) in Section 4(a)(ii)(B) above, Buyer shall have until the later of (i)
                                              the end of the Due Diligence Period or (ii) three (3) Business Days
                                              after receipt of Seller’s response with respect to any Survey-Related
                                              Exceptions to elect to proceed with the purchase and take the
                                              Property subject to such exceptions, or to terminate this Agreement.
                                              If Buyer fails to give Seller notice of its election prior to the date
                                              specified in the preceding sentence, Buyer shall be deemed to have
                                              approved the condition of title to the Property, including without
                                              limitation any Survey-Related Exceptions, but subject to Seller’s
                                              obligations with respect to any Excluded Exceptions. If Seller gives
                                              notice pursuant to clause (x) in Section 4(a)(ii)(B) above and fails to
                                              remove any such objectionable exceptions that Seller has committed
                                              to remove from title prior to the Closing Date (as defined below), and
                                              Buyer is unwilling to take title subject thereto, Buyer may elect to
                                              terminate this Agreement and recover Buyer’s Costs (as defined in
                                              Section 12(b)). If Buyer elects to terminate this Agreement pursuant
                                              to this Section 4(a), the Deposit and interest accrued thereon shall be
                                              returned to Buyer, and neither party shall have any further liability or
                                              obligations hereunder, except for Buyer’s indemnification obligations
                                              hereunder that expressly state they will survive termination of this
                                              Agreement.

                                         (D)Title Update or Supplement. Other than in connection with any
                                            Survey-Related Exceptions, if any supplemental title report or update



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            13/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 15 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                              issued subsequent to the date of the original Title Commitment
                                              discloses any adverse matters not set forth on the original Title
                                              Commitment, then, no later than the later of (i) the expiration of the
                                              Title Objection Period, or (ii) three (3) Business Days after Buyer’s
                                              receipt of such updated Title Commitment, Buyer shall have the right
                                              to object to any such matter, in which event the same procedures for
                                              response, termination and waiver set forth above in Section 4(a) (ii)
                                              including, without limitation, Seller’s obligations with respect to the
                                              Excluded Exceptions, shall apply to such new objections, with Closing
                                              and all other dates set forth for performance of the parties’
                                              obligations hereunder adjusted accordingly.
                                                                    -7-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            14/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 16 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (b)Due Diligence Review. Buyer’s obligation to purchase the Property is conditioned
                          upon Buyer’s review and approval, prior to the expiration of the Due Diligence
                          Period and in Buyer’s sole discretion, of all matters pertaining to the physical,
                          structural, electrical, mechanical, soil, drainage, environmental, economic,
                          tenancy, zoning, land use and other governmental compliance matters and
                          conditions respecting the Property, including without limitation the Due Diligence
                          Items (as defined below), all as provided in this Section 4(b). Within five (5) days
                          following the Effective Date, Seller shall provide Buyer with the items listed on
                          Exhibit G attached hereto, to the extent applicable, (the “Due Diligence
                          Items”). All references herein to the “Due Diligence Period” shall refer to the
                          period which ends at 5:00 p.m. Eastern Standard Time on the day which is fifteen
                          (15) days after the Effective Date. All references herein to the “Due Diligence
                          Contingency” shall refer to the conditions benefiting Buyer that are described in
                          Section 4(a) and this Section 4(b). Buyer expressly agrees that Seller is furnishing
                          copies of the Due Diligence Items to Buyer for informational purposes only and
                          without representation or warranty as to the accuracy or completeness of the
                          contents of such materials except as expressly provided in Section 7(a). For clarity
                          and without limiting the inspections permitted Buyer, inspections may cover the
                          structural condition (including seismic, life safety, electrical capacity, HVAC and
                          other building system and engineering characteristics) of the Improvements,
                          review of any contracts affecting the Property, books and records maintained by
                          Seller or their agents relating to the Property that are in the Due Diligence Items,
                          pest control matters, compliance with building, health, safety, land use and zoning
                          laws, regulations and orders (including analysis of any applicable records of the
                          planning, building, public works or other governmental or quasi-governmental
                          entity having or asserting authority over the Property), traffic patterns, and any
                          other information pertaining to the Property that is in the Due Diligence Items, or
                          otherwise obtained or obtainable by Buyer. In addition, during the Due Diligence
                          Period, Buyer will be permitted to make a complete review and inspection (subject
                          to Section 4(c)(ii) below) of the environmental condition (including the soil
                          condition, and the existence of asbestos, asbestos-containing material, PCBs,
                          hazardous waste and other toxic substances) of the Property.




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            15/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 17 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (c)Entry. During the Due Diligence Period, Seller shall provide Buyer with reasonable
                         access to the Property in accordance with the terms and conditions of this Section
                         4(c) in order for Buyer to investigate the Property and the physical conditions
                         thereof, including without limitation such environmental, engineering and
                         economic feasibility inspections and testing as Buyer may elect. Such access,
                         investigation, inspections and tests shall be on the following terms and conditions:

                               (i)Buyer shall pay for all inspections and tests ordered by Buyer.

                               (ii)In connection with any entry by Buyer or its agents, employees or
                                   contractors onto the Property, Buyer shall give Seller reasonable advance
                                   notice of such entry and shall conduct such entry and any inspections in
                                   connection therewith during regular business hours and so as to minimize
                                   interference with any business operations on the Property. Any invasive
                                                                -8-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            16/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 18 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               testing shall be subject to Seller’s prior written approval, including with respect
                               to the specific scope of work, which shall not be unreasonably withheld,
                               conditioned or delayed.

                               (iii)Buyer shall maintain public liability and property damage insurance in
                                    amounts and in form and substance adequate to insure against all liability
                                     of Buyer and its agents, employees or contractors arising out of any entry or
                                     inspections of the Property pursuant to the provisions hereof, and Buyer
                                     shall provide Seller with evidence of such insurance coverage upon request
                                     by Seller.

                               (iv)Buyer shall indemnify and hold Seller harmless from and against any costs,
                                   damages, liabilities, losses, expenses, liens or claims (including, without
                                   limitation, reasonable attorneys’ fees) resulting from any entry on the
                                    Property by Buyer, its agents, employees or contractors in the course of
                                    performing the inspections, tests or inquiries provided for in this
                                    Agreement, or resulting from any conditions on the Property created by
                                    Buyer’s entry, investigation, inspection or testing (but not including any
                                    claims resulting from the discovery or disclosure of pre-existing physical or
                                    environmental conditions or the non-negligent aggravation of pre-existing
                                    physical or environmental conditions on, in, under or about the Property).
                                    The foregoing indemnity shall survive beyond Closing..

                     (d)Service Contracts. Copies of all equipment leases, service contracts (including but
                        not limited to all power agreements), maintenance contracts and other contracts
                        and agreements currently in effect, relating to the ownership, operation and
                        maintenance of the Property and entered into by Seller (collectively, the “Service
                        Contracts”) are included in the Due Diligence Items. During the Due Diligence
                          Period, Buyer shall have the right to approve, in its sole discretion, the Service
                          Contracts Buyer elects to assume upon Closing. At or prior to expiration of the
                          Due Diligence Period, Buyer shall provide to Seller a schedule setting forth the list
                          of all the Service Contracts that shall be assigned to, and assumed by, Buyer at the
                          Closing (the “Assumed Contracts”). All Assumed Contracts will be included on
                          the applicable exhibit to the Assignment of Service Contracts and Intangible


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            17/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 19 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                          Property attached hereto as Exhibit E and Exhibit F. Prior to Closing, Seller will
                          terminate, at Seller’s cost, for the benefit of Buyer all of the Service Contracts
                          other than the Assumed Contracts.

                     (e)Approval of Condition of Property. Buyer shall promptly commence, and diligently
                        and in good faith pursue, its due diligence review hereunder. If, prior to the
                        expiration of the Due Diligence Period, Buyer determines in its sole and absolute
                         discretion, for any reason directly imputable to the Seller, that it no longer intends
                         to acquire the Property, then Buyer shall promptly notify Seller of such
                         determination in writing (the “Termination Notice”), whereupon this
                         Agreement, and the obligations of the parties to purchase and sell the Property
                         hereunder, shall terminate, and Escrow Holder shall promptly release the Deposit
                         and interest
                                                              -9-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            18/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 20 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     accrued thereon to Buyer. If Buyer fails to timely deliver the Termination Notice,
                     then this Agreement shall remain in full force and effect.

           5.Conditions to Closing.

                     (a)Buyer’s Conditions. In addition to the conditions set forth in Section 4, the
                        following are conditions precedent to Buyer’s obligation to purchase the Property:

                               (i)No Holdover. No holdover by any tenant or licensee pursuant to any lease or
                                  hosting agreement at the Real Property.

                               (ii)Third Party Consents. Seller shall have obtained, in a form acceptable to
                                   Buyer in its sole discretion, third party consents to the assignment of the
                                    following contracts to Buyer:

                                         (A)The Assumed Contracts.

                                         (B)The electric service agreement governing power delivery to North
                                            Range.

                                         (C)The electric service agreement governing power delivery to
                                              Campstool.

                               (iii)Permits and Licenses. The Permits and Licenses have been transferred to
                                    Buyer, to the extent transferable.

                               (iv)Warranties and Guaranties. The Warranties and Guaranties have been
                                   transferred to Buyer, to the extent transferable.

                               (v)Accuracy of Seller’s Representations and Warranties. Subject to Section
                                  7(b), all of Seller’s representations and warranties contained in or made
                                  pursuant to this Agreement shall be true and correct in all material respects
                                  as of the Closing Date.

                               (vi)No Seller Breach. There shall be no material breach of Seller’s covenants
                                   and obligations set forth in this Agreement.



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            19/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 21 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (vii)Seller’s Deliveries. Seller shall have delivered the items described in
                                    Section 6(d) to Buyer or to Escrow Holder.

                               (viii)Title Insurance. As of the Closing, the Title Company will issue or have
                                     committed to issue the Title Policy to Buyer, subject only to the Permitted
                                      Exceptions.

                               (ix)No Change in Condition. On the Closing Date, the Property (including,
                                   without limitation, the Improvements) shall be in a state of repair at least
                                   as good as the state of repair as of the expiration of the Due Diligence
                                   Period, normal wear and tear alone excepted, and there shall be no material
                                   change
                                                              -10-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            20/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 22 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               in the physical or environmental condition of the Property as of the expiration
                               of the Due Diligence Period.

                               (x)NASDAQ Approval. On or before the Closing Date, any prior approvals
                                  required by NASDAQ rules or applicable law that pertain to Buyer as a
                                  listing corporation shall have been obtained in writing, without qualification
                                  or condition.

                               (xi)Governmental Approvals. On or before the Closing Date, any federal, state,
                                   or local governmental approvals (including any zoning approval) required
                                   for the operation of a bitcoin mining operation at the Property shall have
                                    been obtained in writing, without qualification or condition.

                               (xii)Contract for Electric Service. On or before the Closing Date, Buyer shall
                                    enter into a contract for the provision of electric power to the Property in a
                                    capacity that is adequate (in Buyer’s sole discretion) for Buyer’s intended
                                    use of bitcoin mining, and otherwise is on commercially reasonable terms,
                                    in Buyer’s reasonable opinion.

                               (xiii)Assignment to Buyer Subsidiary. Buyer shall have assigned this
                                     Agreement to a direct or indirect subsidiary of Buyer.

                                         Buyer covenants to use good faith efforts to obtain the approvals, if any,
                                         required by paragraphs (x), (xi) and (xii) above, prior to Closing. The
                                         Closing pursuant to this Agreement shall be deemed a waiver by Buyer of
                                         all unfulfilled conditions hereunder benefiting Buyer.

                               (xiv)Seller shall get a waiver from Cheyenne LEADS in regard to the right of
                                    first refusal related to the acquisition of the land at North Range.

                               (xv)Seller shall have obtained a Certificate of Occupancy at North Range.

                     (b)Seller’s Conditions. It shall be a condition precedent to Seller’s obligation to sell
                        the Property that all of Buyer’s representations and warranties contained in or
                          made pursuant to this Agreement shall be true and correct in all material respects



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            21/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 23 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                          as of the Closing Date, that there shall be no material breach of Buyer’s covenants
                          and obligations set forth in this Agreement, and that Buyer shall have delivered
                          the items described in Section 6(e) to Seller or to Escrow Holder. The Closing
                          pursuant to this Agreement shall be deemed a waiver by Seller of all unfulfilled
                          conditions hereunder benefiting Seller.

                     (c)Waiver of Conditions. The conditions set forth in Sections 4 and 5(a) are for the
                        exclusive benefit of Buyer and the conditions set forth in Section 5(b) are for the
                        exclusive benefit of Seller. If any of such conditions have not been satisfied or
                        waived within the period provided, subject to Section 7(b), this Agreement may be
                        terminated by the party benefiting from such condition, in which event the
                         Deposit and all interest accrued thereon shall be returned to Buyer, and neither
                         party shall
                                                            -11-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            22/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 24 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     have any further obligation to or rights against the other except as expressly provided
                     in this Agreement.

           6.Closing and Escrow.

                     (a)Escrow Instructions. Upon execution of this Agreement, the parties hereto shall
                        deposit an executed counterpart of this Agreement with Escrow Holder and this
                        instrument shall serve as the instructions to Escrow Holder for consummation of
                        the purchase and sale contemplated hereby. Seller and Buyer agree to execute
                         such additional and supplementary escrow instructions as may be appropriate to
                         enable Escrow Holder to comply with the terms of this Agreement; provided,
                         however, that in the event of any conflict between the provisions of this Agreement
                         and any supplementary escrow instructions, the terms of this Agreement shall
                         control.

                     (b)Closing. The Closing of the purchase and sale of the Property pursuant to this
                          Agreement (the “Closing”) shall be held and delivery of all items to be made at
                          the Closing under the terms of this Agreement shall be made at the offices of
                          Escrow Holder on the earlier date of (i) that is thirty (30) days after the expiration
                          of the Due Diligence Period, (ii) the date when the Property is free and clear of any
                          possessory interest and free and clear of all tenants, or (iii) such other date prior
                          thereto as Buyer and Seller may mutually agree in writing (the “Closing Date”).
                          Such date may not be extended without the prior written approval of both Seller
                          and Buyer, except as otherwise expressly provided in this Agreement. If the
                          Closing does not occur on or before the Closing Date, Escrow Holder shall, unless
                          it is notified by both parties to the contrary within five (5) days after the Closing
                          Date, return to the depositor thereof items which may have been deposited
                          hereunder (other than the Deposit, which shall be governed by Section 2(c)(i)).
                          Any such return shall not, however, relieve either party hereto of any liability it
                          may have for its wrongful failure to close.

                     (c)Intentionally omitted.




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            23/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 25 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (d)Seller’s Deliveries. At or before the Closing, Seller shall deliver to Buyer the
                        following:

                               (i)the duly executed and acknowledged Deeds conveying to the Buyer the Real
                                  Property;

                               (ii)counterparts of any required transfer tax returns, or in each instance and if
                                   available, an electronic filing of such returns, together with the required
                                   payment of applicable transfer taxes, pursuant to the requirements of the
                                    State of Wyoming and local taxing authorities;

                               (iii)a duly executed Bill of Sale covering the personal property included in the
                                    Property, in the form attached hereto as Exhibit D;
                                                                -12-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            24/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 26 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (iv)two (2) duly executed and acknowledged counterparts of the Assignment of
                                   Service Contracts and intangible property included in the Property related
                                    to North Range in the form attached hereto as Exhibit E;

                               (v)two (2) duly executed and acknowledged counterparts of the Assignment of
                                  Service Contracts and intangible property included in the Property related
                                   to Campstool in the form attached hereto as Exhibit F;

                               (vi)an affidavit pursuant to Section 1445(b)(2) of the Federal Code, and on
                                    which Buyer is entitled to rely, that Seller is not a “foreign person” within
                                    the meaning of Section 1445(f)(3) of the Federal Code;

                               (vii)a closing statement prepared by Escrow Holder and approved in writing by
                                     Seller;

                               (viii)such resolutions, authorizations, bylaws or other corporate and/or
                                      partnership documents or agreements relating to Seller as shall be
                                      reasonably required in connection with this transaction;

                               (ix)a certificate of Seller, duly executed by Seller, confirming that all of the
                                    representations and warranties of Seller contained in Section 7(a) hereof
                                    are true and correct in all material respects as of the Closing Date, subject
                                    to modification for matters disclosed pursuant to Section 7(b) hereof;

                               (x)originals or copies of all Assumed Contracts;

                               (xi)any other documents, instruments or records which are reasonably
                                    required by Escrow Holder to close the escrow and consummate the
                                    purchase of the Property in accordance with the terms hereof.

                     (e)Buyer Deliveries. At or before the Closing, Buyer shall deliver to Seller the
                        following:

                               (i)Cash or other immediately available funds in the amount of the Purchase
                                   Price (with offset for the Deposit);




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            25/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 27 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (ii)two (2) duly executed and acknowledged counterparts of the Assignment of
                                   Service Contracts and Intangible Property governing North Range in the
                                    form attached hereto as Exhibit E;

                               (iii)two (2) duly executed and acknowledged counterparts of the Assignment of
                                    Service Contracts and Intangible Property governing Campstool in the form
                                     attached hereto as Exhibit F;

                               (iv)such resolutions, authorizations, bylaws or other corporate and/or
                                    partnership documents or agreements relating to Buyer as shall be
                                    reasonably required in connection with this transaction;
                                                                               -13-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            26/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 28 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (v)a closing statement prepared by Escrow Holder and approved in writing by
                                   Buyer; and

                               (vi)any other documents, instruments or records which are reasonably
                                   required by Escrow Holder to close the escrow and consummate the
                                    purchase of the Property in accordance with the terms hereof.

                     (f)Prorations. Real property taxes and assessments, water, sewer and utility charges,
                         amounts payable under the Assumed Contracts, annual permits and/or inspection
                         fees (calculated on the basis of the period covered), and other expenses normal to
                         the operation and maintenance of the Property, shall be prorated as of 12:01 a.m.
                         on the Closing Date on the basis of a 365-day year. Buyer hereby agrees that if any
                         of therefore said prorations described in this Section 6(f) cannot be calculated
                         accurately on the Closing Date, then the same shall be calculated within sixty (60)
                         days after the end of the calendar year in which the Closing occurs, and either
                         party owing the other party a sum of money based on such subsequent proration
                         (s) shall promptly pay said sum to the other party. This Section 6(f) shall survive
                         Closing.

                     (g)Closing Costs and Adjustments. Seller shall pay the cost of any documentary
                        stamp taxes, transfer taxes or similar taxes applicable to the sale of the Real
                         Property. Buyer shall pay the premium for the Title Policy, including premiums for
                         any extended coverage policy of title insurance, inspection and survey costs, and
                         the cost of any endorsements to Buyer’s title policy. Recording fees and all other
                         costs and charges of the escrow for the sale shall be paid in the manner customary
                         for the county in which the Real Property is located or, if there is no custom, shall
                         be split equally between Buyer and Seller.

                     (h)Utilities. Seller shall cooperate with Buyer to transfer all utilities for the Property
                          to Buyer’s name as of the Closing Date. Seller shall be entitled to recover any and
                          all deposits with respect to the Real Property held by any utility company as of the
                          Closing Date or, if any such deposit is assignable and Seller so assigns them to
                          Buyer, then the amount of such deposits shall be credited to Seller at Closing and
                          the Purchase Price shall be adjusted accordingly.



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            27/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 29 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (i)Possession. Possession of the Real Property shall be delivered to Buyer on the
                         Closing Date, free and clear of all tenancies.

           7.Representations and Warranties.

                     (a)Seller’s Representations and Warranties. Except as otherwise set forth in the a
                         disclosure schedule attached hereto, Seller hereby represents and warrants to
                         Buyer that as of the Effective Date and, subject to Section 7(b) below, as of the
                         date of the Closing:

                               (i)No other person or entity has a contract or option to purchase, letter of
                                  intent, right of first refusal or first offer, or similar rights with respect to the
                                   Property that is now outstanding.
                                                                -14-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            28/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 30 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (ii)Seller has the right to transfer fee simple ownership to the Property to
                                    Buyer.

                               (iii)To Seller’s knowledge, Seller has received no notice from any governmental
                                     authority with jurisdiction over the Property of any current violation by the
                                     Property of any laws or regulations applicable to the Property. Seller shall
                                     immediately provide Buyer with a copy of any such notices received after
                                     the Effective Date.

                               (iv)There are no leases, licenses, or agreements for occupancy currently in
                                    effect with respect to all or any portion of the Property.

                               (v)There are no contracts or agreements relating to the ownership, operation
                                   and maintenance of the Property that will survive the Closing, other than
                                   the Assumed Contracts. To Seller’s knowledge, there are no defaults under
                                   or with respect to the Assumed Contracts.

                               (vi)There is no litigation pending or threatened against Seller that arises out of
                                   Seller’s ownership or operation of the Property.

                               (vii)To Seller’s knowledge, no condemnation or eminent domain proceedings
                                    are pending or threatened against the Property.

                               (viii)The Due Diligence Items delivered to Buyer are true and complete copies
                                      of the same documents (originals or copies) that are in Seller’s possession
                                      and used in connection with the operation and management of the
                                      Property. None of the Due Diligence Items provided to Buyer has been
                                      amended, modified or terminated except as disclosed in writing to Buyer.

                               (ix)Seller has received no notice of any violation of Environmental Laws or the
                                    presence or release of Hazardous Materials on or from the Real Property in
                                    violation of Environmental Laws except as may be disclosed in any
                                    environmental reports or assessments included in the Due Diligence Items.
                                    “Hazardous Materials” means “Hazardous Material,” “Hazardous
                                    Substance,” “Pollutant or Contaminant,” and “Petroleum” and “Natural Gas



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            29/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 31 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                    Liquids,” as those terms are defined or used in CERCLA, and any other
                                    substances regulated because of their effect or potential effect on public
                                    health and the environment, including PCBs, lead paint, asbestos, urea
                                    formaldehyde, radioactive materials, putrescible materials, and infectious
                                    materials. “Environmental Laws” means, without limitation, the
                                    Resource Conservation and Recovery Act and the Comprehensive
                                    Environmental Response Compensation and Liability Act and other federal,
                                    state, county, municipal, and other local laws governing or relating to
                                    Hazardous Materials or the environment together with their implementing
                                    regulations, ordinances, and guidelines.

                               (x)This Agreement and all documents executed by Seller which are to be
                                  delivered to Buyer at the Closing are or at the time of Closing will be duly
                                                                               -15-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            30/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 32 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               authorized, executed, and delivered by Seller, and are or at the time of Closing
                               will be legal, valid, and binding obligations of Seller.

                               (xi)Seller is a limited liability company organized, validly existing and in good
                                   standing under the laws of Delaware with full power to enter into this
                                    Agreement, and Seller is duly qualified to transact business in Wyoming.
                                    This Agreement and all other documents executed by Seller and delivered
                                    to Buyer prior to or at the Closing (i) have been, or will be when delivered,
                                    duly authorized, executed and delivered by Seller; (ii) are binding
                                    obligations of Seller; (iii) do not violate the provisions of any agreement to
                                    which Seller is party or which affects the Property.

                               (xii)Seller (a) is not acting, directly or indirectly, for or on behalf of any person,
                                     group, entity or nation named by any Executive Order or the United States
                                     Department of the Treasury as a terrorist, “Specially Designated and
                                     Blocked Persons”, or other banned or blocked person, group, entity, nation
                                     or transaction pursuant to any law, order, rule, or regulation that is
                                     enforced or administered by the Office of Foreign Asset Control (“OFAC”)
                                     of the United States Department of the Treasury; and (b) is not engaged,
                                     directly or indirectly, in any dealings or transactions and is not otherwise
                                     associated with such person, group, entity or nation.

                               For purposes of this Agreement, whenever the phrase “to Seller’s knowledge” is
                               used, it shall refer to the actual knowledge of Jiaming Li and Seller’s officers,
                               after reasonable and diligent inquiry and investigation.

                     (b)Notice of Breaches of Representations and Warranties.

                               (i)Seller shall promptly notify Buyer in writing of any changed condition,
                                   receipt of notice or documentation, or acquired knowledge, which would
                                   materially alter any representation or warranty of Seller contained herein of
                                   which Seller becomes aware (any such changed condition, received notice or
                                   documentation or acquired knowledge being defined as a “Changed
                                   Condition”). Subject to clause (ii) below with respect to any Changed



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            31/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 33 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                   Condition that results from Seller’s negligent or intentional acts or
                                   omissions, within five (5) Business Days after notification in writing by Seller
                                   to Buyer of any such Changed Condition, Seller, at Seller’s own option and
                                   expense, may elect by written notice to Buyer to remedy the Changed
                                   Condition such that Seller’s representations are accurate, and the Closing
                                   Date may be extended for up to ten (10) days after the scheduled Closing
                                   Date in order for Seller to effectuate such remedy. If Seller does not elect to
                                   effectuate such remedy so as to cause Seller’s representations to be accurate,
                                   or if Seller so elects but then fails to complete such remedy within such ten
                                   (10) day period, then Buyer may elect, by written notice to Seller given at any
                                   time thereafter, to terminate this Agreement, in which event (1) neither
                                   Buyer nor Seller shall have any further obligation under this Agreement,
                                   except for the obligations which expressly survive the
                                                                               -16-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            32/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 34 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               termination of this Agreement, and (2) the Deposit with interest accrued
                               thereon shall be returned to Buyer. If, notwithstanding Seller’s election not to
                               effectuate such remedy, Buyer elects to consummate the purchase of the
                               Property, Seller shall not be liable to Buyer as a result of any inaccuracy in any
                               representation or warranty of Seller contained herein that results from such
                               Changed Condition.

                               (ii)Notwithstanding the foregoing, if a Changed Condition resulted from
                                   Seller’s negligent or intentional acts or omissions and was not cured by
                                    Seller pursuant to clause (i) above, Seller shall be in breach of a material
                                    obligation under this Agreement, Buyer shall have the remedies set forth in
                                    Section 12(a).

                     (c)Representations and Warranties of Buyer. Buyer hereby represents and warrants
                        to Seller that as of the Effective Date and as of the Closing Date:

                               (i)Buyer is a limited liability company, duly organized and validly existing
                                  under the laws of the State of Wyoming and is qualified to do business and in
                                   good standing under the laws of the State of Wyoming; this Agreement and
                                   all documents executed by Buyer which are to be delivered to Seller at the
                                   Closing are or at the time of Closing will be duly authorized, executed, and
                                   delivered by Buyer, and are or at the Closing will be legal, valid, and binding
                                   obligations of Buyer, and do not and at the time of Closing will not violate
                                   any provisions of any agreement or judicial order to which Buyer is a party
                                   or to which it is subject.

                               (ii)Buyer (a) is not acting, directly or indirectly, for or on behalf of any person,
                                    group, entity or nation named by any Executive Order or the United States
                                    Department of the Treasury as a terrorist, “Specially Designated and
                                    Blocked Persons”, or other banned or blocked person, group, entity, nation
                                    or transaction pursuant to any law, order, rule, or regulation that is
                                    enforced or administered by OFAC; and (b) is not engaged, directly or
                                    indirectly, in any dealings or transactions and is not otherwise associated
                                    with such person, group, entity or nation.



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            33/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 35 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                               (iii)During the term of this Agreement and for a periods defined below, the
                                    Buyer agrees to non-circumvention of the Seller’s relationship with the
                                     power provider at North Range and at Campstool:

                                         Prior to closing, Buyer will not discuss with Black Hills Energy (“BHE”)
                                         the following power contracts without inviting Seller to attend: the 45
                                         MW in North Range, the 30 MW at Campstool, and the potential 25 MW
                                         in North Range and the potential 30 MW at Campstool.

                                         After the Closing and extending until the earlier of fully achieving all
                                         milestones for North Range or six months after the Closing, neither
                                         Buyer
                                                                               -17-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            34/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 36 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                         nor Seller will discuss with BHE the following power contracts without
                                         inviting the other Party to attend:
                                         The potential 25 MW in North Range, or portion thereof remaining.

                                         After the Closing and extending until the earlier of fully achieving all
                                         milestones for Campstool or six months after the Closing, neither Buyer
                                         or Seller will discuss with BHE the following power contracts without
                                         inviting the other Party to attend:
                                         The potential 30 MW in Campstool, or portion thereof remaining.


                                         During the period preceding the Closing Date, the Buyer should also
                                         refrain from initiating communication with BHE for additional
                                         information about potential energy load at North Range or Campstool.

                                         The Buyer acknowledges that any breach of this non-circumvent clause
                                         will result in irreparable harm to the Seller and agrees that the Seller
                                         shall be entitled to seek injunctive relief, in addition to any other
                                         remedies available at law or in equity.

                                         This clause shall remain effective following the termination or expiration
                                         of this Agreement.

           8.Seller’s Covenants. During the period from the Effective Date until the Closing Date:

                     (a)Compliance. Seller shall remain in strict compliance with the Assumed Permits
                         and Licenses and remedy any act of noncompliance within the timeframe
                         established by the applicable governmental authority.

                     (b)Continuing Maintenance. Seller shall continue to maintain the Property in
                          commercially reasonable condition and not less than its condition at the end of
                          the Due Diligence Period.

                     (c)New Contracts. Seller shall not enter into, materially modify or terminate any
                         Service Contracts or other similar arrangements pertaining to the Property that
                         would be binding on the Buyer or Property after Closing or waive any rights of


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            35/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 37 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                         Seller thereunder (except in the ordinary course of business), without in each case
                         obtaining the prior written consent of Buyer, which consent shall not be
                         unreasonably withheld, conditioned or delayed. Buyer shall respond to any
                         request for approval within three (3) Business Days after receipt of Seller’s
                         request.

                     (d)Insurance. Seller shall maintain commercially reasonable coverage types and
                        policy limits for all casualty, liability and hazard insurance with respect to the
                          Property underwritten by an insurance company authorized to provide insurance
                          in Wyoming.

                     (e)No Transfer or Encumbrance. Seller shall not sell, mortgage, pledge, hypothecate
                         or otherwise transfer or dispose of or encumber the Property or any interest
                         therein
                                                                               -18-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            36/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 38 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     or part thereof, nor shall Seller initiate, consent to, approve or otherwise take any
                     action with respect to zoning or any other governmental rules or regulations
                     applicable to the Property.

                     (f)Lease Agreements. Seller shall not enter into any new lease of the Property, submit
                         or consider any proposal for such new lease or terminate, amend or modify any
                         existing lease without Buyer’s prior written consent.

                     (g)No Possessory Interest. Seller shall cause the Property to be free and clear of any
                         possessory interest whether under a lease or otherwise on the Closing Date, except
                         where approved by Buyer in writing prior to the Closing Date. Any and all
                         tenant(s) or licensee(s), if any, shall have surrendered its interest in North Range
                         and removed all of its FF&E and other personal property from the PODS as of the
                         Closing Date, and any such failure of Seller to assure the same shall result in the
                         imposition of liquidated damages of Fifty Thousand Dollars (US$50,000) per day
                         thereafter, starting from that date which is forty-five (45) days following the
                         Effective Date.

           9.Indemnification.

                     (a)Seller Indemnification. Seller shall indemnify, protect, defend and hold harmless
                        Buyer from any claim, loss, damage, cost or expense, including all reasonable
                         attorneys’ fees, asserted against or suffered by Buyer resulting from (i) third party
                         claims that arise due to Seller’s breach prior to Closing of an agreement entered
                         into by Seller or its agents with respect to the Property, (ii) third party claims for
                         personal injury or property damage that arise from events that occurred on the
                         Property prior to Closing, and (iii) any breach of Seller’s representations and
                         warranties contained in this Agreement. Notwithstanding anything to the contrary
                         in this Agreement, and without prejudice to any other right or remedy Buyer has
                         or may have at law, in equity or otherwise, if Buyer is entitled to indemnification
                         or any other amount under this Agreement, Buyer, in its sole discretion, may elect
                         to recover such indemnification or other such amount by seeking cash directly
                         from Seller hereunder regardless of whether either liability is matured or
                         unmatured, liquidated or unliquidated. Seller’s indemnification obligations



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            37/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 39 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                         resulting from a breach of Seller’s representations and warranties contained in
                         this Agreement, shall not exceed the Purchase Price.

                     (b)Buyer Indemnification. Buyer shall indemnify, protect, defend and hold harmless
                        Seller from any claim, loss, damage, cost or expense, including all reasonable
                          attorneys’ fees, asserted against or suffered by Seller resulting from (i) third party
                          claims that arise due to Buyer’s breach after Closing of an agreement entered into
                          or expressly assumed by Buyer or its agents with respect to the Property, (ii) third
                          party claims for personal injury or property damage that arise from events that
                          occur on the Property after Closing, and (iii) any breach of Buyer’s representations
                          and warranties contained in this Agreement.
                                                            -19-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            38/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 40 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (c)Continuation and Survival. The indemnification provisions of this Section 9 and
                         all representations and warranties by the respective parties contained herein or
                         made in writing pursuant to this Agreement shall survive the execution and
                         delivery of this Agreement and the delivery of the deeds and transfer of title,
                         provided that the non-representing party must give the representing party written
                         notice of any claim it may have against the representing party for a breach of any
                         such representation or warranty within twelve (12) months after the Closing Date
                         (the “Survival Period”). Any claim which either party may have at any time,
                         whether known or unknown, which is not asserted within the Survival Period shall
                         not be valid or effective, and the representing party shall have no liability with
                         respect thereto.

           10.Seller’s Disclaimer; Condition of the Property.

                     (a)Seller Disclosures and Buyer Acknowledgement. Buyer acknowledges the
                         following:

                               (i)Other than those specifically set forth in this Agreement, Seller is not making
                                   and has not at any time made any warranty or representation of any kind,
                                   expressed or implied, with respect to the Property, including, without
                                   limitation, warranties or representations as to habitability, merchantability,
                                   fitness for a particular purpose, title, zoning, tax consequences, latent or
                                   patent physical or environmental condition, utilities, operating history or
                                   projections, valuation, projections, or compliance with law.

                               (ii)Other than those specifically set forth in this Agreement, Buyer is not
                                    relying upon and is not entitled to rely upon any representations and
                                    warranties made by Seller or anyone acting or claiming to act on Seller’s
                                    behalf.

                     (b)“AS-IS. WHERE-IS AND WITH ALL FAULTS”. BASED UPON BUYER’S
                        FAMILIARITY WITH, AND DUE DILIGENCE RELATING TO, THE PROPERTY,
                          AND IN DIRECT CONSIDERATION OF SELLER’S DECISION TO SELL THE
                          PROPERTY TO BUYER FOR THE PURCHASE PRICE, BUYER SHALL



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            39/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 41 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                          PURCHASE THE PROPERTY IN AN “AS IS, WHERE IS AND WITH ALL
                          FAULTS” CONDITION ON THE CLOSING DATE AND ASSUMES FULLY THE
                          RISK THAT ADVERSE LATENT OR PATENT PHYSICAL, ENVIRONMENTAL,
                          ECONOMIC OR LEGAL CONDITIONS MAY NOT HAVE BEEN REVEALED BY
                          ITS INVESTIGATIONS, SUBJECT ONLY TO SELLER’S EXPRESS
                          REPRESENTATIONS AND WARRANTIES CONTAINED IN THIS AGREEMENT.
                          SELLER AND BUYER ACKNOWLEDGE THAT THE COMPENSATION TO BE
                          PAID TO SELLER FOR THE PROPERTY HAS TAKEN INTO ACCOUNT THAT
                          THE PROPERTY IS BEING SOLD SUBJECT TO THE PROVISIONS OF THIS
                          SECTION 10. EXCEPT AS EXPRESSLY PROVIDED IN SECTION 7(b), IF
                          SELLER BREACHES ANY REPRESENTATION, WARRANTY, OR COVENANT
                          HEREUNDER PRIOR TO CLOSING AND BUYER CLOSES ESCROW WITH
                          ACTUAL KNOWLEDGE THEREOF. BUYER SHALL BE
                                                                               -20-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            40/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 42 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     DEEMED TO WAIVE SUCH BREACH. THE CLOSING SHALL CONSTITUTE A
                     REAFFIRMATION BY BUYER AND SELLER OF EACH OF THE PROVISIONS OF
                     THIS SECTION 10 AND EACH OF THEM SHALL BE CONTINUING IN NATURE
                     AND SHALL SURVIVE THE CLOSING. “ACTUAL KNOWLEDGE” OF BUYER FOR
                     PURPOSES OF THIS SECTION SHALL REFER TO THE ACTUAL KNOWLEDGE OF
                     ALEX WANG AND SHENGYIN CHEN, WITHOUT SUCH PERSON UNDERTAKING
                     ANY INVESTIGATION OTHER THAN IN THE ORDINARY COURSE OF ITS
                     RESPOSIBILITIES IN CONNECTION WITH THE ACQUISITION OF THE
                     PROPERTY.

           11.Loss by Fire or Other Casualty: Condemnation. Promptly upon learning thereof, Seller
              shall give Buyer written notice of any condemnation, damage or destruction of the
               Property occurring prior to the Closing. Buyer shall be bound to purchase the Property
               for the full Purchase Price as required by the terms hereof, without regard to the
               occurrence or effect of any damage to or destruction of any Improvements or
               condemnation of any portion of the Property, provided: (a) the cost to repair any damage
               or destruction, or the diminution in the value of the remaining Property as a result of a
               partial condemnation, does not exceed thirty-three percent (33%) of the Purchase Price,
               and (b) the square footage of the building which comprises part of the Improvements
               affected by any damage or destruction or by any partial condemnation, does not exceed
               thirty-three percent (33%) thereof, and (c) at Closing, Buyer shall be credited against the
               Purchase Price (A) in the event of damage or destruction fully covered (other than
               customary deductibles) by Seller’s insurance policies, the amount of any insurance
               proceeds collected by Seller as a result of any such damage or destruction plus applicable
               deductibles less any monies actually expended by Seller to repair any damage (or, if not
               previously collected, such proceeds shall be assigned to Buyer) or (B) in the event of
               damage or destruction not fully covered by Seller’s insurance policies, the cost to repair
               the damaged Improvements, as reasonably determined by a firm bid by a third party
               contractor designated by Seller and acceptable to Buyer, in both parties’ reasonable
               discretion (or, if a firm bid cannot be obtained prior to the Closing Date, as determined
               by a preliminary bid or estimate, with a post-Closing reconciliation between Buyer and
               Seller of the credit received by Buyer at such time as a firm bid is obtained from such
               contractor), or (C) in the event of condemnation, the amount of any condemnation



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            41/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 43 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




               awards collected by or payable to Seller. If either threshold described in clause (a) or (b)
               above is met or exceeded, then Buyer (or either Buyer or Seller, if such loss is not
               insured) may at its option terminate this Agreement, whereupon the Deposit and
               interest accrued thereon shall be returned to Buyer. If neither Buyer nor Seller exercises
               such option to terminate within fifteen (15) days after Seller notifies Buyer in writing of
               Seller’s estimate of the cost to repair or diminution in value, then this Agreement shall
               continue in full force and effect, the parties shall consummate the transaction
               contemplated hereby, and Buyer shall receive a credit against the Purchase Price
               calculated pursuant to clause (c) above. Seller shall have no obligation to repair or
               replace any damage or destruction except as required to safeguard the Property and
               protect the health and safety of occupants.

           12.Default.
                                                                               -21-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            42/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 44 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (a)Buyer Default. As set forth in Section 1(a)(i) above, if Buyer defaults under this
                         Agreement after payment of the Deposit but prior to the Closing Date, then
                         $250,000 from the Deposit shall immediately be paid to Seller, as liquidated
                         damages and not as a penalty, by the Escrow Agent, and the balance of the Deposit
                         shall be returned to the Buyer. The receipt of $250,000 from the Deposit shall be
                         Seller’s sole remedy in the event of Buyer’s default at or prior to the Closing Date,
                         and Seller, in such event, hereby waives any right, unless Closing is completed, to
                         recover the balance of the Purchase Price. Nothing contained in this Section 12(a)
                         nor the provision in Section 1(a)(i) shall be deemed to limit Seller’s rights against
                         Buyer by reason of the indemnity obligations of Buyer to Seller set forth in this
                         Agreement which shall survive the termination of this Agreement.

                     (b)Seller Default. If there is a material default under this Agreement on the part of
                        Seller and Buyer is not in default under this Agreement, Buyer, as its sole and
                          exclusive remedies, may either (i) terminate this Agreement in its entirety by
                          delivery of notice of termination to Seller, whereupon the Deposit shall be
                          immediately returned to Buyer, Seller shall reimburse Buyer for Buyer’s actual
                          out-of-pocket costs and expenses incurred in connection with this transaction
                          (“Buyer’s Costs”), and thereafter this Agreement shall terminate, or (ii) continue
                          this Agreement pending Buyer’s action for specific performance hereunder
                          provided appropriate proceedings have been commenced by Buyer within forty-
                          five (45) days after the Closing Date and prosecuted with diligence and continuity.

           13.Miscellaneous.

                     (a)Notices. Any notice required or permitted to be given under this Agreement shall
                         be in writing and (i) personally delivered, (ii) sent by United States registered or
                         certified mail, postage prepaid, return receipt requested, (iii) sent by Federal
                         Express or similar nationally recognized overnight courier service, or (iv)
                         transmitted by electronic mail with a hard copy sent within one (1) Business Day
                         by any of the foregoing means. Such notice shall be deemed to have been given
                         upon the date of actual receipt or delivery (or refusal to accept delivery), as
                         evidenced by the notifying party’s receipt of written or electronic confirmation of
                         such delivery or refusal, if received by the party to be notified between the hours of


https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            43/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 45 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                         8:00 A.M. and 5:00 P.M. Eastern Standard time on any Business Day, with
                         delivery made after such hours to be deemed received the following Business Day.
                         For purposes of notice, the addresses of the parties shall be as follows:




                                        If to Seller:
                                                                                [redacted]




                                        with a copy to:                         Loeb & Loeb LLP_

                                                                               -22-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            44/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 46 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                                                                6345 Park Avenue, New York, NY 10154
                                                                                Attention: Stephen Cohen; Ronelle C.
                                                                                Porter
                                                                                ***@***; ***@***




                                        If to Buyer:                            CSRE Properties Wyoming, LLC
                                                                                10624 S. Eastern Ave., Ste. A-638
                                                                                Henderson, NV 89052
                                                                                Attention: Legal
                                                                                Email: ***@***

                                        with a copy to (which
                                                                                Cozen O'Connor
                                        shall not constitute
                                                                                1717 Main Street, Suite 3100
                                        notice):                                Dallas, TX 75238
                                                                                Attention: Steven P. Katkov, Esq.
                                                                                Email: ***@***

                               or such other address as either party may from time to time specify in writing
                               delivered to the other in accordance with this Section 13(a).

                     (b)Brokers and Finders. Neither party has had any contact or dealings regarding the
                          Property, or any communication in connection with the subject matter of this
                          transaction, through any licensed real estate broker or other person who can claim
                          a right to a commission or finder’s fee as a procuring cause of the sale
                          contemplated herein. The provisions of this Section 13(b) shall survive the
                          Closing.

                     (c)Successors and Assigns. This Agreement shall be binding upon, and inure to the
                        benefit of, the parties hereto and their respective successors, heirs, administrators
                         and permitted assigns. Buyer may not assign its rights hereunder without the prior
                         written consent of Seller, except to an entity which controls, is controlled by, or is




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            45/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 47 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                         under common control with Buyer. No assignment of this Agreement shall relieve
                         the assignor from primary liability for its obligations hereunder.

                     (d)Amendments. Except as otherwise provided herein, this Agreement may be
                          amended or modified only by a written instrument executed by Seller and Buyer.

                     (e)Governing Law. This Agreement shall be governed by and construed in accordance
                         with the laws of the State of Wyoming.

                     (f)Merger of Prior Agreements. This Agreement and the exhibits hereto constitute the
                         entire agreement between the parties with respect to the purchase and sale of the
                         Property and supersedes all prior agreements and understandings between the
                         parties hereto relating to the subject matter hereof.

                     (g)Attorneys’ Fees. In any judicial action or proceeding between or among the parties
                        to enforce any of the provisions of this Agreement regardless of whether such
                         action or proceeding is prosecuted to judgment and in addition to any other
                         remedy, the
                                                                               -23-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            46/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 48 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     non-prevailing party shall pay to the prevailing party all out-of-pocket costs and
                     expenses (including reasonable attorneys’ fees and disbursements) incurred therein
                     by the prevailing party. For the purposes of this Section 13(g), the term “prevailing
                     party” shall mean the party which obtains substantially the relief it sought to obtain.

                     (h)Business Day. As used herein, the term “Business Day” shall mean a day that is
                        not a Saturday, Sunday or legal holiday in the state where the Property is located.
                          In the event that the date for the performance of any covenant or obligation under
                          this Agreement, or delivery of any notice, shall fall on a non-Business Day, the
                          date for performance thereof shall be extended to the next Business Day.

                     (i)Time of the Essence. Time is of the essence of this Agreement.

                     (j)Construction. This Agreement has been negotiated by the parties who have had the
                         opportunity to consult their respective counsel. This Agreement shall not be
                         construed more strictly against one party hereto than against any other party
                         hereto merely by virtue of the fact that it may have been prepared by counsel for
                         one of the parties.

                     (k)Exhibits. All exhibits are attached hereto and incorporated herein by this
                          reference.

                     (l)Headings. Headings at the beginning of any paragraph or section of this
                        Agreement are solely for the convenience of the parties and are not a part of this
                         Agreement or to be used in the interpretation hereof.

                     (m)Waiver. No waiver by Buyer or Seller of a breach of any of the terms, covenants,
                           or conditions of this Agreement by the other party shall be construed or held to
                           be a waiver of any succeeding or preceding breach of the same or any other term,
                           covenant or condition herein contained. The consent or approval by Buyer or
                           Seller to or of any act by the other party requiring the consent or approval of the
                           first party shall not be deemed to waive or render unnecessary such party’s
                           consent or approval to or of any subsequent similar acts by the other party.




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            47/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 49 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (n)Severability. If any phrase, clause, sentence, paragraph, section, article, or other
                        portion of this Agreement shall become illegal, null or void or against public
                          policy, for any reason, or shall be held by any court of competent jurisdiction to be
                          illegal, null or void or against public policy, the remaining portions of this
                          Agreement shall not be affected thereby and shall remain in force and effect to the
                          fullest extent permissible by law.

                     (o)Counterparts; Electronic Signatures, This Agreement may be executed in any
                          number of counterparts, each of which shall be deemed an original, and all of
                          which counterparts together shall constitute one agreement. This Agreement may
                          be executed by a party’s signature transmitted by facsimile (“fax”) or by electronic
                          mail in pdf format (“pdf”), and copies of this Agreement executed and delivered by
                          means of faxed or pdf signatures shall have the same force and effect as copies
                          hereof executed and delivered with original signatures. All parties hereto may rely
                          upon faxed or pdf signatures as if such signatures were originals.
                                                                               -24-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            48/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 50 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (p)Confidentiality. Buyer and Seller each acknowledge and agree that this Agreement
                          and the terms and conditions set forth, as well as the Due Diligence Items
                          provided by Seller to Buyer and any information concerning the Property derived
                          from Buyer’s due diligence inspections, are to be kept confidential. Each party
                          shall be entitled to discuss and disclose the transaction and the diligence materials
                          with employees, agents, attorneys, accountants, consultants, lenders, directors,
                          officers, shareholders, partners, members, investors and representatives, parent
                          entity         subsidiaries            and/or        affiliates,         of      such        party         (collectively,
                          “Representatives”), provided such Representative (i) has a need to know such
                          information for the purposes of evaluating, facilitating, implementing, and/or
                          consummating the transfers of the Property pursuant to this Agreement, and (ii)
                          is informed of the confidential nature of the transaction and related information
                          and agrees to maintain the confidentiality. If this Agreement is terminated
                          without Closing, promptly following such termination, Buyer shall return to Seller
                          all Due Diligence Items that are in Buyer’s possession, together with all copies of
                          any reports, studies, surveys and similar items prepared by third parties on behalf
                          of Buyer in connection with its review and investigation of the physical or
                          environmental conditions of the Property. In addition, if and when Closing occurs,
                          neither party shall make any public statement (including press releases, press or
                          media statements, articles, case studies or any similar statement) regarding this
                          Agreement or the terms and conditions set forth herein without in each instance
                          first obtaining the written consent of the other party, which may be granted or
                          withheld in such party’s sole and absolute discretion. The provisions of this
                          Section 13(p) shall survive Closing.

                     (q)Buyer Disclosure Obligations and SEC Restrictions. Notwithstanding the
                          foregoing Section 13(p), Seller acknowledges that Buyer is a corporation listed on
                          NASDAQ and subject to certain disclosure obligations required by the U.S.
                          Securities and Exchange Commission (“SEC”). Seller and Buyer will work
                          together and cooperate to ensure that press releases and SEC filings in respect of
                          the transfer of the Property are mutually agreed and acceptable, subject to any
                          legal requirements. Seller acknowledges that certain information exchanged in the
                          context of the transfers described in this Agreement may constitute material non-



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            49/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 51 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                          public information under United States federal securities laws, and that United
                          States federal securities laws prohibit any person who has received material non-
                          public information relating to Buyer from purchasing or selling securities of
                          Buyer, or from communicating such information to any person under
                          circumstances in which it is reasonably foreseeable that such person is likely to
                          purchase or sell securities of Buyer. Failure by Seller to adhere to the provisions of
                          this shall constitute a material breach of this Agreement.

                     (r)1031 Exchange. Seller and/or Buyer may wish to effect a tax-deferred exchange
                        under Section 1031 the Internal Revenue Code of 1986, as amended, and both
                         parties agree to cooperate at the requesting Party’s expenses to facilitate such
                         exchange; provided, however, that the exchanged property shall be directly deeded
                         to the party effecting such exchange, neither party shall incur additional cost or
                         expense on the other party’s behalf and such exchange shall not cause any delays
                         in the time periods or scheduled Closing Date specified in this Agreement.
                                                                               -25-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            50/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 52 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                     (s)Permitted Assignment by Buyer. Buyer may, without Seller’s consent but upon
                         written notice, assign its interest in this Agreement to any wholly owned
                         subsidiary of Buyer at any time prior to or at Closing. The assignment by Buyer of
                         its rights under this Agreement shall not release nor discharge Buyer from any and
                         all obligations under this Agreement.


                                                                               ******

                                                                  {Signatures Follow}
                                                                                -26-




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            51/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 53 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




           IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date(s)
           written below next to their respective signatures.



                                                                      SELLER:




           Date: 05/08/2024 MineOne Wyoming Data Center LLC,
                                                                      a Delaware limited liability company



                                                                      By: /s/ Jiaming Li .
                                                                      Name: Jiaming Li .
                                                                      Its: Director .




                                                                      BUYER:

           Date: 05/08/2024 CSRE PROPERTIES WYOMING, LLC,
           a Wyoming limited liability company


                                                                      By: /s/ Zachary Bradford .
                                                                      Name: Zachary Bradford .



https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            52/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 54 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                                                      Its: Chief Executive Officer .




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            53/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 55 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




                                                                          EXHIBIT A
                                                            Depiction of the Real Property


           North Range




           Campstool




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            54/55
                    Case 1:23-cv-00079-ABJ                        Document 182-4               Filed 05/15/24            Page 56 of 56
5/14/24, 6:58 PM                         Purchase and Sale Agreement, dated May 8, 2024 by and among | CLEANSPARK, INC. | Business Contracts | Justia




https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/                                                                            55/55
